      Case 2:17-cr-00234-TLN Document 118 Filed 01/15/20 Page 1 of 3



1    DAVID D. FISCHER, SBN 224900
     LAW OFFICES OF DAVID D. FISCHER, APC
2    5701 Lonetree Blvd Ste 312
     Rocklin, CA 95765
3    Tel: 916-447-8600/Fax 916-930-6482
     E-mail: davefischer@yahoo.com
4
5
     Attorney for Defendant
6    MERCEDEZ SILVA-SIMS

7
                                IN THE UNITED STATES DISTRICT COURT
8
9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                     Case No. 2:17-CR-0234 TLN
11
                       Plaintiff,                  STIPULATION AND ORDER TO CONTINUE
12                                                 STATUS CONFERENCE
              v.
13
      MERCEDEZ SILVA-SIMS,                           DATE:          January 16, 2020
14                                                   TIME           9:15 a.m.
                       Defendant.                    JUDGE:         Hon. Troy L. Nunley
15
16           By this stipulation, the parties move to continue the status conference for MERCEDEZ
17   SILVA-SIMS until February 27, 2020, and to exclude time between January 16, 2020 and
18   February 27, 2020, under Local Code T4.
19           The parties agree and stipulate, and request that the Court find the following:
20           a.      The government has produced additional discovery which defense counsel will
21   need further time to review, discuss with the defendant and to pursue investigation. Defense
22   counsel and the government are continuing their pre-trial discussions toward a possible
23   resolution. Additionally, Mr. Fischer is in trial in state court and is unavailable on January 16,
24   2020.
25           b.      Defense counsel believes that failure to grant the above-requested continuance
26   would deny counsel the reasonable time necessary for effective preparation, taking into account
27   the exercise of due diligence. A continuance is also necessary to ensure continuity of counsel for
28   Ms. Silva-Sims.
      Stipulation and Order                           -1-
      to Continue Status Conference
      Case 2:17-cr-00234-TLN Document 118 Filed 01/15/20 Page 2 of 3



1            c.      Based on the above-stated findings, the ends of justice served by continuing the
2    case as requested outweigh the interest of the public and the defendants in a trial within the
3    original date prescribed by the Speedy Trial Act.
4            d.      For the purposed of computing time under the Speedy Trial Act, 18 U.S.C. §
5    3161, et seq., within which trial must commence, the time period of January 16, 2020 to
6    February 27, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv)
7    [Local Code T4] because it results from a continuance granted by the Court at defendant’s
8    request on the basis of the Court’s finding that the ends of justice served by taking such action
9    outweigh the best interest of the public and the defendants in a speedy trial.
10           Nothing in this stipulation and order shall preclude a finding that other provisions of the
11   Speedy Trial Act dictate that additional time periods are excludable from the period within which
12   a trial must commence.

13   DATED: January 13, 2020                       /s/ David D. Fischer
                                                   DAVID D. FISCHER
14                                                 Attorney for Mercedez Silva-Sims
15
     DATED: January 13, 2020                       MCGREGOR W. SCOTT
16                                                 United States Attorney
17
                                                   /s/ Justin Lee
18                                                 Justin Lee
                                                   Assistant United States Attorney
19                                                 Attorney for Plaintiff
20
21
22
23
24
25
26
27
28
      Stipulation and Order                           -2-
      to Continue Status Conference
      Case 2:17-cr-00234-TLN Document 118 Filed 01/15/20 Page 3 of 3



1                                                  ORDER
2            The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendant in a speedy trial.
8            The Court orders a status conference on February 27, 2020, at 9:30 a.m. The Court
9    orders the time from January 16, 2020 up to and including February 27, 2020, excluded from
10   computation of time within which the trial of this case must commence under the Speedy Trial
11   Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12
13   Dated: January 14, 2020
14
15                                                           Troy L. Nunley
                                                             United States District Judge
16
17
18
19
20
21
22
23
24
25
26
27
28
      Stipulation and Order                           -3-
      to Continue Status Conference
